
23 N.Y.2d 748 (1968)
Raymond Diaz, an Infant, by His Guardian ad Litem, Modesto Diaz, et al., Appellants,
v.
City of New York et al., Respondents.
Court of Appeals of the State of New York.
Argued November 25, 1968.
Decided December 11, 1968.
George Sassower and Doris L. Sassower for appellants.
William F. Larkin and James J. Rogan for Edenwald Contracting Co., Inc., respondent.
J. Lee Rankin, Corporation Counsel (William M. Murphy and Stanley Buchsbaum of counsel), for City of New York, respondent.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, BREITEL and JASEN. Judge KEATING dissents and votes to reverse and to grant a new trial on the ground that plaintiffs' proof was sufficient to present a question of fact for the jury.
Order affirmed, without costs; no opinion.
